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                      UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF NEW YORK


                   CLERK’S CERTIFICATE OF ACTION TAKEN ON
                  PLAINTIFF(S) REQUEST FOR ENTRY OF DEFAULT


       Jessica Azzara

                vs.                                      CASE NUMBER: 1:16-CV-1213

       National Credit Adjusters, LLC


       I, LAWRENCE K BAERMAN, CLERK, by S. Potter, Deputy Clerk, certify that I have
reviewed the Court’s docket and have determined that proof of proper service for the party against
whom judgment is being sought has been filed and that this party has not appeared in the action.
Accordingly, entry of default is hereby noted and entered on this 14th day of December, 2016 against
National Credit Adjusters, LLC.
 Dated:    December 14, 2016




                                                                   By: s/ S. Potter
                                                                    Deputy Clerk
